                            Case 3:22-cv-06857-JD Document 21 Filed 11/21/22 Page 1 of 5



                     1   MORGAN, LEWIS & BOCKIUS LLP
                         Eric Meckley, Bar No. 168181
                     2   eric.meckley@morganlewis.com
                         Brian D. Berry, Bar No. 229893
                     3   brian.berry@morganlewis.com
                         One Market, Spear Street Tower
                     4   San Francisco, CA 94105
                         Tel: +1.415.442.1000
                     5   Fax: +1.415.442.1001
                     6   Attorneys for Defendant
                         TWITTER, INC.
                     7

                     8                              UNITED STATES DISTRICT COURT
                     9                             NORTHERN DISTRICT OF CALIFORNIA
                    10                                      SAN FRANCISCO DIVISION
                    11

                    12   EMMANUEL CORNET, JUSTINE DE                     Case No. 3:22-cv-06857-JD
                         CAIRES, GRAE KINDEL, ALEXIS
                    13   CAMACHO, AND JESSICA PAN, on behalf of          DEFENDANT TWITTER, INC.’S
                         themselves and all others similarly situated,   REQUEST FOR JUDICIAL NOTICE
                    14                                                   IN SUPPORT OF OPPOSITION TO
                                              Plaintiffs,                PLAINTIFFS’ EMERGENCY
                    15                                                   MOTION FOR A PROTECTIVE
                                       v.                                ORDER
                    16
                         TWITTER, INC.                                   Date:       December 8, 2022
                    17                                                   Time:       3 p.m.
                                              Defendant.                 Judge:      Hon. James Donato
                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                               DEFENDANT’S REQUEST
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                             FOR JUDICIAL NOTICE
                                                                                          CASE NO. 3:22-CV-06857-JD
                             Case 3:22-cv-06857-JD Document 21 Filed 11/21/22 Page 2 of 5



                     1          In accordance with Federal Rule of Evidence 201, Twitter, Inc. (“Twitter” or

                     2   “Defendant”) respectfully requests that this Court take judicial notice of the documents described

                     3   below and attached as Exhibits to this Request for Judicial Notice.

                     4          Federal Rule of Evidence Section 201 (“Rule 201”) allows a court to take judicial notice

                     5   of facts that are “not subject to reasonable dispute” because they are either (1) “generally known

                     6   within the trial court’s territorial jurisdiction” or (2) “can be accurately and readily determined

                     7   from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. § 201(b). The

                     8   Court “must take judicial notice if a party request it and the court is supplied with the necessary

                     9   information.” Fed. R. Evid. 201(c)(2).
                    10          Public and government records taken from official websites whose accuracy cannot

                    11   reasonably be questioned are subject to judicial notice. Brulee v. Geico Insurance Agency Inc.

                    12   No. 19 (E.D. Cal July 19, 2018) (citing O’Toole v. Northrop Grumman Corp., 499 F.3d 1218,

                    13   1225 (10th Cir. 2007) (“It is not uncommon for courts to take judicial notice of factual

                    14   information found on the world wide web”); Denius v. Dunlap, 330 F.3d 919, 926-27 (7th Cir.

                    15   2003) (taking judicial notice of information on the website of a government agency); United

                    16   States ex rel. Dingle v. BioPort Corp., 270 F.Supp.2d 968, 972 (W.D. Mich. 2003) (“government

                    17   documents are generally considered not to be subject to reasonable dispute…This includes public

                    18   records and government documents available from reliable sources on the Internet.”).

                    19          Pursuant to these guidelines, Twitter requests that the Court take judicial notice of the
                    20   following documents:

                    21          Exhibit A: Attached as Exhibit “A” is a true and correct copy of the Agreement & Plan of

                    22   Merger (“Merger Agreement”) between Twitter, Inc. and X Holdings I, Inc. and X Holdings II,

                    23   Inc. This document was obtained on today’s date from the online EDGAR database maintained

                    24   by the United States Securities & Exchange Commission, which may be found, in its entirety, at

                    25   the following website:

                    26   https://www.sec.gov/Archives/edgar/data/1418091/000119312522120474/d310843ddefa14a.htm

                    27

                    28
MORGAN, LEWIS &
                                                                                                     DEFENDANT’S REQUEST
 BOCKIUS LLP                                                               2                           FOR JUDICIAL NOTICE
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                                    CASE NO. 3:22-CV-06857-JD
                             Case 3:22-cv-06857-JD Document 21 Filed 11/21/22 Page 3 of 5



                     1          Exhibit B: Attached as Exhibit “B” is a true and correct copy of a tweet1 written by

                     2   Emmanuel Cornet, one of the named plaintiffs in this case. This document was obtained on

                     3   today’s date from a review of publicly available information. This tweet may be found, in its

                     4   entirety, at the following website:

                     5   https://twitter.com/lmanul/status/1587601005251743745?lang=en

                     6          Exhibit C: Attached as Exhibit “C” are true and correct copies of several articles written

                     7   containing interviews that Plaintiffs’ Counsel gave regarding this case (C-1 through C-10). These

                     8   documents were obtained on today’s date from a review of publicly available information. The

                     9   attached articles may be found, in their entirety, at the following websites:
                    10       1. Anne Cullen, Law360 Twitter Tumult Shows Risk of Overlooking Pandemic’s Impact

                    11          (Nov. 18, 2022 9:17 PM EST)

                    12              o Twitter Tumult Shows Risk Of Overlooking Pandemic's Impact - Law360

                    13       2. Grace Dean, Business Insider, Laid-off Twitter Employees Claim in a Lawsuit that the

                    14          Company 'Persuaded' Them Not to Look for New Jobs in the Run-Up to Elon Musk's

                    15          Takeover. (Nov. 11, 2022 11:09 AM)

                    16              o https://www.businessinsider.com/elon-musk-twitter-deal-lay-staff-job-hunt-

                    17                  severance-package-2022-11

                    18       3. Matthew Loh, Business Insider, Elon Musk Failed to Give Laid-Off Twitter Employees

                    19          Previously Promised Severance Packages, Lawsuit Alleges. (Nov. 11, 2022 1:57 AM)
                    20              o https://www.businessinsider.com/elon-musk-twitter-failed-give-promised-

                    21                  severance-laid-off-lawsuit-2022-11

                    22       4. Liz Jassin, NewsNation, Lawyer: Musk Broke Promises to Fired Twitter Employees.

                    23          (Nov. 10, 2022 9:29 PM).

                    24              o https://www.newsnationnow.com/cuomo-show/lawyer-musk-broke-promises-to-

                    25                  fired-twitter-employees/

                    26

                    27
                         1
                          A “tweet” is a short, electronic message published by a user on the social media platform
                    28   Twitter.com.
MORGAN, LEWIS &
                                                                                                    DEFENDANT’S REQUEST
 BOCKIUS LLP                                                               3                          FOR JUDICIAL NOTICE
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                                   CASE NO. 3:22-CV-06857-JD
                         Case 3:22-cv-06857-JD Document 21 Filed 11/21/22 Page 4 of 5



                     1   5. Beverly Banks, Law360, Ex-Twitter Workers Seek Protective Order From Releases. (Nov.

                     2      10, 2022 8:56 PM)

                     3          o https://www.law360.com/employment-authority/other/articles/1548731/ex-twitter-

                     4             workers-seek-protective-order-from-releases

                     5   6. Ashley Belanger, Ars Technica, Twitter Offering Some Laid-Off Staff Only Half What

                     6      They’re Owed, Lawsuit Says. (Nov. 9, 2022 2:11 PM).

                     7          o https://arstechnica.com/tech-policy/2022/11/twitter-offering-some-laid-off-staff-

                     8             only-half-what-theyre-owed-lawsuit-says/.

                     9   7. Ryan Mancini, MassLive, 55 Twitter Employees Lose Jobs in Boston as Part of Company-
                    10      Wide Layoffs. (Nov. 7, 2022 3:07 PM).

                    11          o https://www.masslive.com/boston/2022/11/55-twitter-employees-lose-jobs-in-

                    12             boston-as-part-of-company-wide-layoffs.html

                    13   8. Jana Katsuyama, KTVU, Twitter Lays Off 784 Employees at SF Headquarters, as Former

                    14      Employees File Lawsuit. (Nov. 5, 2022)

                    15          o https://www.ktvu.com/news/twitter-lays-off-784-employees-at-sf-headquarters-as-

                    16             former-employees-file-lawsuit

                    17   9. Josh Eidelson, Bloomberg Law, Lawyer Suing Twitter Over Layoffs Says Musk Trying to

                    18      Comply. (Nov. 4, 2022 9:43 PM).

                    19          o https://www.bloomberglaw.com/bloomberglawnews/us-law-
                    20             week/X9J2PKES000000?bna_news_filter=us-law-week#jcite

                    21   10. WCVB Channel 5, Boston Attorney Files Lawsuit on Behalf of Twitter Employees Facing

                    22      Layoffs. (Nov. 4, 2022 5:04 PM)

                    23          o https://www.wcvb.com/article/boston-attorney-files-lawsuit-on-behalf-of-twitter-

                    24             employees-facing-layoffs/41865120

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
                                                                                            DEFENDANT’S REQUEST
 BOCKIUS LLP                                                         4                        FOR JUDICIAL NOTICE
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                           CASE NO. 3:22-CV-06857-JD
                            Case 3:22-cv-06857-JD Document 21 Filed 11/21/22 Page 5 of 5



                     1   Dated: November 21, 2022       MORGAN, LEWIS & BOCKIUS LLP

                     2                                  By: /s/ Eric Meckley
                                                            Eric Meckley
                     3                                      Brian Berry
                                                            Ashlee Cherry
                     4                                      Attorneys for Defendant
                                                            Twitter, Inc.
                     5

                     6

                     7

                     8

                     9
                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
                                                                                       DEFENDANT’S REQUEST
 BOCKIUS LLP                                                    5                        FOR JUDICIAL NOTICE
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                      CASE NO. 3:22-CV-06857-JD
